   Case 2:05-cv-04182-SRD-JCW Document 1913-4 Filed 11/30/06 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA
                              NEW ORLEANS DIVISION

IN RE: KATRINA CANAL BREACHES             *                CIVIL ACTION
CONSOLIDATED LITIGATION                   *                NO. 05-4182 “K”(2)
                                          *                JUDGE DUVAL
_________________________________________ *                MAG. WILKINSON
                                          *
PERTAINS TO:                              *
ST. RITA (Kenney) 06-7355                 *
                                          *
_________________________________________ *


                                           ORDER

       IT IS ORDERED, ADJUGED AND DECREED that Third-Party Defendant, Lake

Borgne Basin Levee District, (“LBBLD”), is granted leave of Court to file its Reply To

Plaintiff’s Opposition To Third-Party Defendant Lake Borgne Basin Levee District Rule

12(B)(6) Motion To Dismiss.

       New Orleans, Louisiana, this ____ day of ___________, 2006.



                      __________________________________________
                        UNITED STATES DISTRICT COURT JUDGE




                                              28
